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OFFIT KURMAN, P.A.
Jason A. Nagi
590 Madison Avenue, 6th Floor
New York, NY 10022
Tel (212) 545-1900
Email: Jason.nagi@offitkurman.com
       and
Joyce A. Kuhns, Esq. (pro hac)
300 East Lombard Street, Suite 2010
Baltimore, Maryland 21202
Tel (410) 209-6463
Email: Jkuhns@offitkurman.com

Attorneys for 286 Rider Ave Development LLC,
Toby Moskovits and Yechial Michael Lichtenstein


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------X
 In re:
                                                               Chapter 11
 286 Rider Ave Acquisition LLC,
                                                               Case No. 21-11298-lgb
                                Debtor.
 -----------------------------------------------------X

          NOTICE OF TELEPHONIC HEARING ON MOTION OF 286 RIDER AVE
          DEVELOPMENT LLC, TOBY MOSKOVITS AND YECHIAL MICHAEL
           LICHTENSTEIN TO DISMISS BANKRUPTCY CASE PURSUANT TO
                 11 U.S.C. § 305 OR § 1112 BASED ON NEW EVIDENCE


          PLEASE TAKE NOTICE that a telephonic hearing on the Motion of 286 Rider Ave

Development LLC to Dismiss Bankruptcy Case Pursuant to 11 U.S.C. § 305 or § 1112 Based on

New Evidence (the "Motion") will be held on November 16, 2021 at 10:00 a.m. (ET) before the

Honorable Lisa G. Beckerman, United States Bankruptcy Judge, or as soon thereafter as counsel

may be heard, at the United States Bankruptcy Court for the Southern District of New York, One

Bowling Green, Courtroom 601, New York, NY 10004.
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       PLEASE TAKE FURTHER NOTICE that pursuant to General Order M-543, dated

March 20, 2020 (Morris, C.J.) (“General Order M-543”), the Hearing will be conducted

telephonically. Parties wishing to appear at, or attend, the Hearing must refer to and comply with

the Bankruptcy Court’s guidelines for telephonic appearances1 and make arrangements with

Court Solutions LLC by telephone at (917) 746-7476.

       PLEASE TAKE FURTHER NOTICE the Hearing may be continued or adjourned

from time to time without further notice other than an announcement of the adjourned date or

dates at the Hearing or at a later hearing.

       PLEASE TAKE FURTHER NOTICE that any objections, or other responses shall be

filed and served no later than November 9, 2021 at 4:00 p.m. (ET), must be made in writing, state

with particularity the grounds therefore, shall conform to the United States Bankruptcy Rules and

the Local Rules of the Bankruptcy Court, include in the upper right hand corner of the caption, the

ECF docket number to which the filing relates, and shall be filed with the Bankruptcy Court

electronically in accordance with General Order M-399 (with an electronic copy to be e-mailed to

Chambers of Lisa G. Beckerman at beckerman.chambers@nysb.uscourts.gov. Should you be

unable to e-mail a document due to its size, you should contact Chambers by e-mail), and served

via e-mail upon Offit Kurman, P.A., Counsel for 286 Rider Ave Development LLC, to Jason A.

Nagi, Esq. at Jason.nagi@offitkurman.com and Joyce A. Kuhns, Esq. at Jkuhns@offitkurman.com

together with proof of service thereof.




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       PLEASE TAKE FURTHER NOTICE that objecting parties are required to attend the

Hearing telephonically so long as General Order M-543 is in effect or unless otherwise ordered

by the Bankruptcy Court. Failure to appear may result in relief being granted as requested.

       PLEASE TAKE FURTHER NOTICE that unless responses are received by that time,

the relief may be granted as requested.



Dated: New York, New York
       November 2, 2021
                                                      OFFIT KURMAN, P.A.


                                                 By: /s/ Jason A. Nagi
                                                     Jason A. Nagi
                                                     590 Madison Avenue
                                                     New York, New York 10022
                                                     (212) 545-1900
                                                     Jason.nagi@offitkurman.com

                                                      and

                                                      Joyce A. Kuhns, Esq. (pro hac)
                                                      300 East Lombard Street, Suite 2010
                                                      Baltimore, Maryland 21202
                                                      (410) 209-6463
                                                      Jkuhns@offitkurman.com

                                                      Attorneys for 286 Rider Ave
                                                      Development LLC, Toby Moskovits and
                                                      Yechial Michael Lichtenstein




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OFFIT KURMAN, P.A.
Jason A. Nagi
590 Madison Avenue, 6th Floor
New York, NY 10022
Tel (212) 545-1900
Email: Jason.nagi@offitkurman.com
       and
Joyce A. Kuhns, Esq. (pro hac pending)
300 East Lombard Street, Suite 2010
Baltimore, Maryland 21202
Tel (410) 209-6463
Email: Jkuhns@offitkurman.com

Attorneys for 286 Rider Ave Development LLC,
Toby Moskovits and Yechial Michael Lichtenstein


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------X
 In re:
                                                               Chapter 11
 286 Rider Ave Acquisition LLC,
                                                               Case No. 21-11298-lgb
                                Debtor.
 -----------------------------------------------------X

    MOTION OF 286 RIDER AVE DEVELOPMENT LLC, TOBY MOSKOVITS AND
     YECHIAL MICHEAL LICHTENSTEIN TO DISMISS BANKRUPTCY CASE
      PURSUANT TO 11 U.S.C. § 305 OR § 1112 BASED ON NEW EVIDENCE

          286 Rider Ave Development LLC (“Development”), as 100% owner of the membership

interests of the debtor, 286 Rider Ave Acquisition LLC (the “Acquisition” or “Nominal

Debtor”), Toby Moskovits and Yechial Michael Lichtenstein, as indirect owners of the Nominal

Debtor and Co-Debtors/Guarantors (“Co-Debtors/Guarantors”), by undersigned counsel,

hereby files this Motion to Dismiss Bankruptcy Case Pursuant to 11 U.S.C. § 305 or § 1112

Based on New Evidence (the “Motion”) with proposed form of Order granting the Motion

attached hereto as Exhibit (“Ex.”) “A,” and, in support, states:
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                             I.      PRELIMINARY STATEMENT

       1.       As Movants will show through the undisputed record in this case, Lender

fraudulently caused its alter ego, the Nominal Debtor, to file a Chapter 11 case for Lender’s

exclusive benefit and at significant cost to the detriment of other creditors and parties-in-interest,

all due to Lender’s attempt to shield itself from scrutiny for its improper and ineffective transfer

of membership interests in Acquisition to itself, in violation of the New York Uniform

Commercial Code and applicable law.

                                    II.     UNDISPUTED FACTS

       2.       Development owns 100% of the membership interests in the Nominal Debtor (the

“Membership Interests”).

       3.       On or about September 19, 2019, Acquisition received a loan in the principal

amount of $8,000,000.00 (the “Loan”) from Be-Aviv 286 Rider LLC (“Lender”), secured by a

Mortgage and Security Agreement of even date pursuant to which Acquisition granted Lender a

mortgage on certain real property located at 286 Rider Avenue, Bronx, New York (“Property”).

       4.       As additional collateral for the Loan, Development executed and delivered to

Lender a pledge of the Membership Interests in Acquisition (“Member Interests”) pursuant to a

Membership Interest Pledge Agreement (the “Pledge Agreement”) and a corresponding

Assignment of those Membership Interests, both dated September 19, 2019. See Dkt. No. 24,

Exs. B and G.

       5.       By letter dated March 2, 2021, Lender notified Acquisition c/o Toby Moskovits,

with a copy to Michael Lichtenstein, of a purported default under the Loan documents and




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demanded immediate payment of all amounts then due (the “First Default Notice”). See Dkt.

No. 24, Ex. J.

       6.        By letter dated April 27, 2021, Lender notified Acquisition c/o Toby Moskovits

that Acquisition was in purported continuing default under the Loan documents and that Lender

was exercising its right to assign, transfer, and register all Member Interests into the name of

Lender. Lender further instructed Acquisition, as borrower under the Loan, to register the

Member Interests in the Lender’s name in its books and records. See Dkt. No. 24, Ex. K.

       7.        On April 27, 2021, Lender filled in its own name on the Assignment of Member

Interests. See Dkt. No. 24, Ex. G. Subsequently, Lender entered into an Assignment and

Assumption Agreement “as of” June 14, 2021 purporting to assign the Member Interests to its

affiliate, 286 Rider Ave Lender LLC. See Dkt. No. 24, Ex. L.

        8.       On July 1, 2021, 286 Rider Ave Lender LLC engaged Lee E. Buchwald as a

manager of Acquisition and authorized him to file a Chapter 11 case as soon as practical. See Dkt

No. 24, Ex. P.

       9.        On June 14, 2021, Lender appointed 286 Rider Ave Lender LLC as managing

member of Acquisition. See Dkt No. 24, Ex. P.

       10.       On July 14, 2021, counsel for Lender sent a letter to Acquisition and

Development, both care of Toby Moskovits, advising that Lender had exercised its rights under

the Loan documents and the Pledge Agreement to assign, transfer and register all Member

Interests in Acquisition into the name of Lender, as if Lender was the absolute owner thereof.

See Dkt. No. 24, Ex. M.




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       11.     On July 15, 2021 (“Petition Date”), the Lender, on behalf of the Nominal Debtor,

caused Acquisition to file this bankruptcy case (the “Bankruptcy Case”).

       12.     More than three months after filing the Bankruptcy Case, the Nominal Debtor

through its manager, filed Schedules of Assets and Liabilities (“Schedules”) and Statement of

Financial Affairs (SOFA) under penalties of perjury. See Dkt. No. 97.

       13.     At Schedule H of the Schedules, the Nominal Debtor listed Toby Moskovits and

Michael Lichtenstein, each as a Co-Debtor/Guarantor on Loan obligations to Lender.

       13.     In the SOFA at Part 6, no. 11.1, the Nominal Debtor disclosed that all Pre-Petition

Date fees to Nominal Debtor’s counsel had been paid for by Lender. This arrangement was

further confirmed in “Disclosure of Compensation of Attorney for Debtor” attached to the SOFA

and signed by Nominal Debtor’s counsel.

       14.     At Part 13, no. 28 of the SOFA, Nominal Debtor stated that 286 Rider Ave

Lender LLC held 100% of the Member Interests in Acquisition.

       15.     In SOFA Part 13, no. 29, Nominal Debtor stated that Lender held the Member

Interests in Acquisition from April 27, 2021 through June 14, 2021.

       16.     In the “List of Equity Security Holders” submitted along with the SOFA, the

manager of the Nominal Debtor listed 286 Rider Lender LLC as holding 100% of the Member

Interests in Acquisition.

       17.     The Schedules and SOFA disclose that the Nominal Debtor’s primary asset is the

non-income producing Property.

       18.     The Schedules further disclose that, other than obligations to Lender, there are

four creditors holding $143,100.00 in unsecured claims and a judgment lien creditor holding a


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claim in the amount of $1,178,725.00.

       19.     The Monthly Operating Reports confirm that the Nominal Debtor has no income

and little to no cash on hand. See Dkt. Nos. 22, 51, and 77.

       20.     Between October 11 and 22, 2021, Development and the Co-Debtors/Guarantors

and their counsel, provided notice to the Nominal Debtor and the Lender that they have the

requisite funding to pay off the Loan and requested a pay off letter. (Declaration of Jason A.

Nagi, dated November 2, 2021 (the “Nagi Decl.”) Exhibits 1 – 4) Bankruptcy counsel for the

Lender and the Nominal Debtor responded in writing that there was no right for a payoff. (Nagi

Decl., Exhibit 5.) Lender continues to refuse to issue a pay off letter which only unnecessarily

delays an ultimate closing.

                              III.     JURISDICTION AND VENUE

       21.     This Court has jurisdiction of this Bankruptcy Case and this matter pursuant to 28

U.S.C. §§ 157(a) and 1334(a) and the Amended Standing Order of Referral of Cases to

Bankruptcy Judges of the United States District Court for the Southern District of New York (M-

431) dated January 31, 2012 (Preska, C.J.). Venue is proper in this district pursuant to 28 U.S.C.

§§ 1408 and 1409(a). This is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A).

The statutory predicates for the relief requested in this Motion are sections 305 and 1112 of title

11 of the United States Code (“Bankruptcy Code”).

                                     IV.   RELIEF REQUESTED

       22.     By this Motion, Movants seek dismissal of the Bankruptcy Case pursuant to 11

U.S.C. § 305 because: (i) the Bankruptcy Case was filed fraudulently by the Lender “gaming”

the bankruptcy system as discussed below; (ii) Lender blatantly and repeatedly violated the strict


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foreclosure requirements mandated by UCC Section 9-620 as described below; (iii) Lender

repeatedly ignored the payoff demands of Development and the Co-Debtors/Guarantors, and as a

result of all of the above, the interests of creditors and the Nominal Debtor would be better

served by dismissal, or, alternatively, because cause exists for such dismissal under 11 U.S.C. §

1112(b).

                    V.      MOTION TO DISMISS BANKRUPTCY CASE

A.     The Court Should Abstain From Hearing the Bankruptcy Case, and Dismiss It

Under 11 U.S.C. § 305 .

       23.     Section 305 of the Bankruptcy Code Provides that a court may dismiss a

bankruptcy case if, among other things, the interests of creditors and the debtor would be betters

served by such dismissal. See 11 U.S.C. §§ 305(a)(1).

       24.     Courts have made clear that "gaming" or manipulating the bankruptcy system, as

Lender did here, is sufficient cause for dismissal under section 305(a)(1). See In re Spade, 258

B.R. 221 (Bankr. D. Colo. 2001) (dismissing involuntary case in which creditor admitted that the

bankruptcy petition was primarily used as a strategy to obtain leverage over debtor in another

proceeding). In Monitor Single Lift I Ltd., 381 B.R. 455, 464 (Bankr. S.D.N.Y. 2008), the Court

concluded that "[t]he decision to abstain under § 305(a)(1) should be made on a case-by-case

basis" to "consider the circumstances…in determining whether there is cause for dismissal ..."

       25.     The Monitor Court applied a seven-factor test to determine whether to grant relief

under § 305(a)(1): (1) the economy and efficiency of administration; (2) whether another forum

is available to protect the interests of both parties or there is already a pending proceeding in

state court; (3) whether federal proceedings are necessary to reach a just and equitable solution;


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(4) whether there is an alternative means of achieving an equitable distribution of assets; (5)

whether the debtor and the creditors are able to work out a less expensive out-of-court

arrangement which better serves all int rests in the case; (6) whether a non-federal insolvency has

proceeded so far in those proceedings that it would be costly and time consuming to start afresh

with the federal bankruptcy process; and (7) the purpose for which bankruptcy jurisdiction has

been sought.

       26.     In this Bankruptcy Case, all relevant factors weigh in favor of dismissal. First, the

dispute between Lender and Co-Debtors/Guarantors under the Loan precipitated the bankruptcy

filing. Lender’s attempt to gain leverage over and fraudulently strip the Co-Debtors/Guarantors

of their indirect equity interests through 286 Rider Development LLC in Acquisition is what

caused Lender to instigate the Bankruptcy Case, which is now creating substantial and

unnecessary administrative expenses to the detriment of non-Lender creditors. The Monthly

Operating Reports evidence that the Nominal Debtor generates no income and has no assets to

fund this Bankruptcy Case. Consistent with its use of the Bankruptcy Case to advance Lender’s

own interest, as Lender’s alter ego, the Nominal Debtor has now filed a Motion for Debtor in

Possession Financing (“DIP Financing Motion”), whereby the Lender would be given a

priming lien on the Property, among other protections, for advancing at closing on any sale of the

Property up to $500,000 to cover administrative expenses Lender has caused the Nominal Debtor

to incur while charging 12% interest. See Dkt. No. 101. The DIP Financing Motion is being

pursued by the Lender for its own benefit, while ignoring repeated payoff requests and demands

from Development and Co-Debtors/Guarantors since the beginning of October to move towards

a payoff of the Loan. Second, Lender and the other creditors may avail themselves as some have


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already done of the state court forum to protect their interests without the burden of

administrative expenses that solely benefit the Lender, and such forum would be more efficient

for a payoff of the Loan by Development and Co-Debtors/Guarantors as has been repeatedly

requested without incurring the added costs of a bankruptcy process. Third, a federal court is not

central to any issue in this Bankruptcy Case but is merely creating unnecessary administrative

costs born by all non-Lender creditors without any apparent benefit. Fourth, there is an

alternative means of achieving an equitable distribution of assets in state court, especially since

Development and Co-Debtors/Guarantors have offered and demanded to pay off the Loan. Fifth,

as noted, the bankruptcy forum is expensive and non-Lender creditors are bearing the burden

whereas in state court they could seek less expensive alternatives such as mediation, or a payoff,

which Development and Co-Debtors/Guarantors have repeatedly requested since the beginning

of October. The sixth factor is inapplicable as there are no state court insolvency proceedings

pending, but there is no doubt given the administrative costs and the proposed DIP Financing,

that the Bankruptcy Case will be unnecessarily costly to non-Lender creditors for the Lender’s

sole economic benefit. In short, as will be more fully explained in Section V.B. below, Lender

has caused the Nominal Debtor, its alter ego, to fraudulently pursue the Bankruptcy Case for its

exclusive benefit and to shield Lender from an examination into its improper attempt to control

Acquisition’s equity interests.

B.    The Court Should Dismiss the Bankruptcy Case Under 11 U.S.C. § 1112 as
Fraudulent.

        27.     Section 1112 of the Bankruptcy Code governs the conversion or dismissal of a

case under chapter 11. It states, in part, that



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               the court shall convert a case under this chapter to a case under
               chapter 7 or dismiss a case under this chapter, whichever is in the
               best interest of the creditors and the estate, for cause unless the court
               determines that the appointment under section 1104(a) of a trustee
               or examiner is in the best interests of creditors and the estate.

See 11 U.S.C. § 1112(b).

       28.     Although, subsection (b)(4) sets forth examples of “cause” for relief

under § 1112(b), these factors are “‘not exhaustive’ and courts are free to consider other[s]...’”

See In re BH S&B Holdings, LLC, 439 B.R. 342, 346 (Bankr. S.D.N.Y. 2010), citing

In re Ameribuild Const. Mgmt., Inc., 399 B.R. 129, 131 n.3 (Bankr. S.D.N.Y. 2009).

       29.     Prior to and after the Bankrupty Case’s inception, Lender knowingly and

improperly acted as both Lender and Debtor/borrower under the Loan, using Acquisition as its

alter ego solely to advance Lender’s interest.

(i)    The Pledge Agreement Explicitly Limits Relief to a Private UCC Sale

       30.     Assuming arguendo a pre-petition default occurred under the Loan, the Pledge

Agreement is explicit in allowing a private sale only of Member Interests on execution. The

Pledge Agreement provides in pertinent part:

       SECTION 5. Rights; Distributions.

                       (a)     ... If an Event of Default shall occur and be continuing, then all
               Membership Interests at Lender’s option, may be registered in the name of Lender
               or its nominee (if not already so registered), and Lender or its nominee may
               thereafter exercise (i) all voting and all equity, membership and other rights
               pertaining to the Membership Interests and (ii) any and all rights of conversion,
               exchange, and subscription and any other rights, privileges or options pertaining
               to such Membership Interests as if it were the absolute owner thereof...

       SECTION 7. Private Sales.

                   (a)         Pledgor recognizes that Lender may be unable to effect a public
               sale of any or all of the Membership Interests... Pledgor acknowledges and agrees
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               that any such private sale may result in prices and other terms less favorable to
               Lender than if such sale were a public sale and, notwithstanding such
               circumstances, agrees that any such private sale shall not be deemed to have been
               made in a commercially unreasonable manner solely by virtue of being a private
               sale...

                   (b)         Pledgor further shall use its commercially reasonable efforts to do
               or cause to be done all such other acts as may be reasonably necessary to make
               any sale or sales of all or any portion of the Membership Interests pursuant to this
               Section 7 valid and binding and in compliance with any and all other
               requirements of applicable law....

                   (c)         Lender shall now incur any liability as a result of the sale of any
               Collateral, or any part thereof, at any private sale conducted in a commercially
               reasonable manner, it being agreed that some or all of the Collateral is or may be
               of one or more types that threaten to decline speedily in a value and that are not
               customarily sold in a recognized market...

                   (d)         The Code states that Lender is able to purchase the Membership
               Interests only if they are sold at a public sale... Pursuant to the Code, Pledgor
               specifically agrees (x) that it shall not raise any objections to Lender’s purchase of
               the Membership Interests (through bidding on the obligations or otherwise) and
               (y) that a foreclosure sale conducted in conformity with the principles set forth in
               the No-Action Letters (i) shall be considered to be a “public” sale for purposes of
               the Code... shall be considered to be commercially reasonable notwithstanding
               that Lender purchases the Membership Interests in such a sale.

                   (e)        Pledgor agrees that Lender shall not have any general duty or
               obligation to make any effort to obtain or pay any particular price for any
               Membership Interests sold by Lender pursuant to this Agreement... Pledgor
               hereby agrees that any foreclosure sale conducted in accordance with the
               following provisions shall be considered a commercially reasonable sale and
               hereby irrevocably waives any right to contest the commercial reasonableness of
               any such sale:

                              (i)     Lender conducts the foreclosure sale in the State of New
                      York;

                             (ii)    The foreclosure sale is conducted in accordance with the
                      laws of the State of New York;

                              (iii) Not more than ten (10) business days before; and not less
                      than five (5) business days in advance of the foreclosure sale, Lender


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                       notifies Pledgor at the address set forth herein of the time and place of
                       such foreclosure sale;

                               (iv)    The foreclosure sale is conducted by an auctioneer licensed
                       in the State of New York and is conducted in front of the New York
                       Supreme Court...

                                (v)    The notice of the date, time and location of the foreclosure
                       sale is published in the New York Times or Wall Street Journal...

                              (vi)    Lender sends notification of the foreclosure sale to all
                       secured parties identified as a result of a search of the UCC financings
                       statements in the filing offices located in the States of Delaware and New
                       York conducted not later than twenty (20) days and not earlier than thirty
                       (30) days before such notification date.

       (emphasis added)

(ii)   Having Declined to Proceed by Private Sale, Lender Attempted a Strict Foreclosure

       31.      Despite the Pledge Agreement only providing for private sale as a means of

foreclosure, Lender proceeded to “foreclose” on the Member Interests, not by public or private

sale, but by executing an assignment to itself and recertificating the Member Interests in its own

name. See Dkt. No. 24, Ex. B and G. Lender, therefore, purported to foreclose via “strict

foreclosure.”

        32.     “Strict Foreclosure” is “a procedure by which the secured party acquires the

debtor’s interest in the collateral without the need for a sale or other disposition under [Uniform

Commercial Code] Section 9-610 in partial or full satisfaction of its debt.” See e.g. Kansas

statutes Annotated 2030 Supp. 844-9-620, Comment 2. Under New York’s version of the

Uniform Commercial Code (“UCC”), the remedy of strict foreclosure is only available if the

debtor consents to strict foreclosure after it has defaulted. In re CBGB Holdings, LLC, 439 B.R.

551, 555 (Bankr. S.D.N.Y. 2010). Thus, a debtor cannot consent to strict foreclosure at the time


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it enters into the debtor and security instrument. Id. Section 9-620 of the UCC governs strict

foreclosure. Id; see generally, 4 JAMES J. WHITE & ROBERT S. SUMMERS, UNIFORM COMMERCIAL

CODE § 34-10 (5th ed. 2002).

(iii)   Lender Failed to Comply With the UCC’s Strict Foreclosure Requirements
        33.     UCC Section 9-611, entitled “Notification Before Disposition of Collateral,”

mandates that a secured party must send a debtor a notice before disposition of its collateral.

UCC Section 9-612 states that in a non-consumer transaction “a notice of disposition of

collateral sent after default and 10 days or more before the earliest time of disposition set forth in

the notification is sent in a reasonable time...”

        34.     Lender, however, failed to follow these clear advanced notification pre-requisites

required to conduct a strict foreclosure under the UCC. First, Lender sent a default and

reservation of rights letter to Acquisition, on March 2, 2021. Second, Lender sent a letter dated

April 27, 2021 to Acquisition and Development that Lender was exercising its right to assign,

transfer and register Member Interests of Acquisition into the name of Lender “as if Lender was

the absolute owner thereof.” Lender, however, never provided Acquisition and Development the

requisite advanced notice of the disposition of the Member Interests. Instead, Lender exercised

foreclosure by filling in its own name in the assignment of Member Interests on April 27, 2021,

in violation of UCC Section 9-612(b). See Dkt. No. 24, Exs. B and G.




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        35.      In further disregard of the advance notification requirements of strict foreclosure

requirements of UCC Section 9-613(1)(D), Lender failed to ever advise Acquisition of its right

to an accounting of any indebtedness. 1

        36.      UCC Section 9-620 requires a debtor to consent to strict foreclosure in full or

partial satisfaction of a debt. In the case of partial strict foreclosure, a debtor must expressly

consent to the terms of the acceptance in a record authenticated after default. UCC 9-620(c)(1).

Alternatively, after default, a secured party can send a proposal to a debtor “that is unconditional

or subject only to a condition that collateral not in the possession of the secured party be

preserved or maintained,” UCC Section 9-620(c)(2)(A), and “proposes to accept collateral in full

satisfaction of the obligation it secures.” UCC Section 9-620(c)(2)(B). If the debtor does not

accept the proposal within twenty days, it is deemed accepted. UCC Section 9-620(c)(2)(C).

        37.      Lender is a sophisticated party and opted for the application of New York law to

the Loan documents. See Dkt. No. 24, Exs. B-E. Lender, through its counsel, is charged with

knowing the mandated requirements for notification by a secured party to a debtor under UCC

Section 9-620.

        38.      Nonetheless, Lender blatantly and repeatedly violated the strict foreclosure

requirements mandated by UCC Section 9-620 in an attempt to transfer the equity interests in

Acquisition to itself on April 27, 2021 and thereby take control of its borrower and prevent any

investigation into its prior conduct or the extent of the debt owed under the Loan. The purported




1
         Despite repeated requests for a payoff or accounting of indebtedness under the Loan, Lender and Nominal
Debtor have failed and refused to provide either to the Co-Debtors/Guarantors, further demonstrating that the
Nominal Debtor/borrower under the Loan remains in control of the Lender.

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transfer of Member Interest violated the UCC and is ineffective. Development remains the holder

of 100% of the Member Interests in Acquisition.

       39.      Cognizant that it could cause a bankruptcy filing if it held itself out as holding the

equity but could not pursue its status as a secured creditor entitled to principal, interest, and fees,

Lender assigned its purported Member Interests in Acquisition to its affiliate, 286 Rider Ave

Lender LLC, prior to the Petition Date.

       40.     In its Schedules and SOFA filed under penalties of perjury more than three

months after the Petition Date, the Nominal Debtor, through its manager, continues to

misrepresent that the equity interests disclosed in the Schedules and SOFA are held by the

Lender affiliate, and not by Development.

       41.     Thus, from prior to and after the Petition Date, Lender through its alter ego, the

Nominal Debtor, has run the case for Lender’s exclusive benefit and not in the interests of

legitimate creditors, repeatedly representing that Lender’s affiliate owns the equity interest,

which is false, causing substantial and unnecessary administrative expenses to accrue to the

prejudice and detriment of legitimate creditors and parties-in-interest.

       42.     Movants therefore maintain that more than sufficient “cause” exists to dismiss

this Bankruptcy Case, the filing of which was predicated on a fraudulent scheme.

                                      IV.     CONCLUSION

       WHEREFORE, for all the foregoing reasons, 286 Rider Ave Development LLC, Toby

Moskovits and Yechial Michael Lichtenstein respectfully request that the Court enter an order:

(i) dismissing this Bankruptcy Case under 11 U.S.C. § 305; or (ii) dismissing this Bankruptcy

Case under 11 U.S.C. § 1112; and (iii) granting such other relief as the Court deems just.


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                   V.      NO SEPARATE MEMORANDUM OF LAW


      Movant relies on this Motion and the authorities cited therein in lieu of filing a separate

Memorandum of Law.

Dated: New York, New York
       November 2, 2021                             OFFIT KURMAN, P.A.

                                                By: /s/ Jason A. Nagi
                                                    Jason A. Nagi
                                                    590 Madison Avenue
                                                    New York, New York 10022
                                                    (212) 545-1900

                                                    and

                                                    Joyce A. Kuhns, Esq. (pro hac)
                                                    300 East Lombard Street, Suite 2010
                                                    Baltimore, Maryland 21202
                                                    (410) 209-6463
                                                    Jkuhns@offitkurman.com

                                                    Attorneys for 286 Rider Ave
                                                    Development LLC, Toby Moskovits and
                                                    Yechial Michael Lichtenstein




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                                 Exhibit A
                          “Proposed Order”
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
    ----------------------------------------------------------X
    In re:
                                                                  Chapter 11
    286 Rider Ave Acquisition LLC,
                                                                  Case No. 21-11298-lgb
                                   Debtor.
    -----------------------------------------------------X

ORDER DISMISSING BANKRUPTCY CASE PURSUANT TO 11 U.S.C. § 305 OR § 1112
                     BASED ON NEW EVIDENCE

             Upon the Motion of 286 Rider, Toby Moskovits and Yechial Michael Lichtenstein to

Dismiss the Bankruptcy Case Pursuant to 11 U.S.C. § 305 or § 1112 Based on New Evidence

(the “Motion”) 1; for entry of an order, pursuant to sections 305 and 1112(b) of the Bankruptcy

Code and Bankruptcy Rule 1017, dismissing this Chapter 11 case and granting related relief; and

it appearing that this Court has jurisdiction to decide this matter pursuant to 28 U.S.C. §§ 157(a)

- (b) and 1334(b) as a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and it appearing that

venue of these case and the Motion is proper in this district pursuant to 28 U.S.C. §§ 1408 and

1409; and due and proper notice of the Motion having been given; and any objections to the

requested relief at the hearing having been heard and overruled; and upon the record of the

hearing held by the Court on the Motion on November 16, 2021 (the "Hearing"); and, after

deliberation, the Court having found and concluded that Movants have established sufficient

cause for the dismissal of this Chapter 11 case in the best interest of creditors and the estate;

therefore, it is hereby

             ORDERED:

             1.      The Motion is GRANTED as set forth herein.




1
             Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.
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       2.      The Debtor’s Chapter 11 case is dismissed pursuant to Sections 1112(b) and/or

Section 305 of the Bankruptcy Code.

       3.      The retention of all professionals retained by the estate under section 327 of the

Bankruptcy Code or otherwise, is hereby terminated.

       4.      The Debtor shall within ten (10) business days of the entry of this order (i) pay to

the U.S. Trustee the appropriate sum required pursuant to 28 U.S.C. § 1930 and any applicable

interest pursuant to 31 U.S.C. § 3717 and (ii) provide to the U.S. Trustee a declaration disclosing

all disbursements made by the Debtor during the calendar quarter in which this Order is entered.

       5.      The Debtor is authorized and directed to execute and deliver all instruments and

documents and take such other actions as may be necessary or appropriate to implement and

effectuate the transactions contemplated by this Order.

       6.      The terms and conditions of this Order shall be immediately effective and

enforceable upon entry of this Order.

       7.      The Court retains jurisdiction with respect to all matters arising from or relating to

the interpretation, implementation and/or enforcement of this Order.

       8.      To the extent applicable, the 14-day stay to effectiveness of this Order provided

by Bankruptcy Rule 6004(h) is waived and this Order shall be effective and enforceable

immediately upon entry.


Dated: ________________, 2021                         _____________________________
                                                      The Honorable Lisa G. Beckerman,
                                                      United States Bankruptcy Judge




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